                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 3:12-00018
                                                    )       Judge Trauger
CONNIE RENA STANTON [2]                             )
                                                    )

                                           ORDER

         It is hereby ORDERED that this case is set for a change of plea hearing on August 20,

2012 at 2:30 p.m.

         It is so ORDERED.

         ENTER this 15th day of August 2012.




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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